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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

DEONTA ELLIS,                                  )
      Plaintiff,                               )
-vs-                                           )
DANIEL SLIGHTOM and CARLTON                    )   Case No. 1:17-cv-3857 TWP-MJD
HOWARD, in their individual and official       )
capacities, and the CITY OF                    )
INDIANAPOLIS,                                  )
      Defendants.                              )

                   PLAINTIFF’S PRELIMINARY WITNESS LIST

      Plaintiff by counsel submits his preliminary witness list:

   1. Plaintiff.

   2. Defendant Slightom.

   3. Defendant Howard.

   4. Lavon Washington.

   5. All witnesses listed by Defendants.

                                         /s/Christopher K. Starkey
                                         Christopher K. Starkey
                            CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above has been served upon all counsel of
record by the Court’s ECF system 27 February 2018.

                                         /s/Christopher K. Starkey
                                         Christopher K. Starkey

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